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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                    No. CR S-99-0051 GEB EFB P

12          vs.

13   JAVIER MORA,

14                  Movant.                        ORDER TO SHOW CAUSE

15                                            /

16                  Movant is a federal prisoner proceeding pro se with a motion to vacate, set aside,

17   or correct his sentence pursuant to 28 U.S.C. §2255. The court’s order filed March 31, 2006,

18   set a briefing schedule for disposition of the matter. On April 10, 2006, respondent filed a

19   motion to dismiss on the grounds that the section 2255 motion is barred by the statute of

20   limitations. On April 13, 2006, movant filed a document styled as a request for a continuance.

21   The request, which predates the filing of respondent’s motion to dismiss, contends that movant is

22   without access to his legal materials and is awaiting a disciplinary transfer to another federal

23   correctional facility. The order filed May 16, 2006, granted movant a period of sixty days in

24   which to file and serve an opposition. That time ran on June 10, 2006. Accordingly, movant is

25   ordered to show cause why respondent’s motion to dismiss should not be granted.

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 1          In accordance with the above, IT IS HEREBY ORDERED that movant show cause,

 2   within twenty days, why respondent’s April 10, 2006 motion to dismiss should not be granted.

 3   DATED: December 5, 2006.

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